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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 IN RE: PHILIPS RECALLED CPAP,                     Master Docket: No. 21-mc-1230
 BI-LEVEL PAP, AND MECHANICAL
 VENTILATOR PRODUCTS LITIGATION                    MDL No. 3014


 KONINKLIJKE PHILIPS N.V.,
 PHILIPS NORTH AMERICA LLC,
 PHILIPS HOLDING USA, INC.,
 PHILIPS RS NORTH AMERICA LLC, and
 PHILIPS RS NORTH AMERICA
 HOLDING CORPORATION,

                     Defendants / Third-
                     Party Plaintiffs,

       v.

 SOCLEAN, INC. and
 DW MANAGEMENT SERVICES, LLC,

                    Third-Party Defendants.



               ORDER GRANTING THE PHILIPS PARTIES’
     MOTION FOR LEAVE TO FILE RESPONSE TO SOCLEAN’S POST-REPLY
     SUPPLEMENTAL MEMORANDUM AND THE COURT’S MINUTE ORDER

             AND NOW, this 24th day of      February   , 2025, upon consideration of the

Philips Parties’ Motion for Leave to File Response to SoClean’s Post-Reply Supplemental

Memorandum, it is HEREBY ORDERED that the Motion is GRANTED.


                                           ____________________________________
                                               s/Joy Flowers Conti
                                           HONORABLE JOY FLOWERS CONTI
                                           Senior United States District Judge
